
The Court
gave no opinion on the first or second point; hut rather inclined to consider the reversion in the slave Sarah, with her increase, as passing; by the residuary clause of the will of Elizabeth Pinchback. .
On the third point, the Court was unanimous, that the sale from Anne Pinchback to Sarah Crump was valid;* aud, therefore, the decree of the Chancellor was reversed, and the bill of the appellees dismissed with costs.

[* See Countess of Strathmore v. Bowes, 2 Bro. C. C. 345, 1 Ves. jun. 22, 2 Cox’s Cas in Eq. 28; Fonb. Treat. on Eq. B. 1, c. 2, § 6, note (o); Atherley on Marriage Settlements, ch. 22, p. 319-329; and Roper on Husband and Wife, vol. 1, c. 5, § 1, p. 159-165, and the eases cited and remarked on by those writers.]

